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EXHIBIT 11
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| DATE:

From: Judith McBean [jmcbean@bmhvt.org] a f
Sent: 2/22/2017 11:19:41 PM : Sunnie Donath, RPRLCR EP
To: Leslie R. DeMars [Leslie.R.DeMars@hitchcock.org] ere)
Subject: RE: confidential review **External**

CONFIDENTIAL

Dear Dr. Demars:

I am writing in response to your request for feedback regarding Dr. Seifer.

I write with concern regarding technical skills, leadership, and practicing the standards of care :

Technical skills:

-Dr. Seifer has been a practicing REI physician for years, but upon arrival did not seem to
understand our system for oocyte retrieval,which is the current standard of care and has been for over 7
years Csingle lumen needle)

-he does not do the standard fertility surgeries of hysteroscopy and laparoscopy, in a smal] program
a broad set of skills is critical for success in a small program

-limited ultrasound skills both in performing and interpreting

-limited skill set does not suit an academic center

Standard of Care:
-I have concerns regarding practice outside of ASRM standard of care:

-screening and evaluation of patients is often incomplete or scattered and causes concern in
patients .

-IUI timing/clomid alone for UEI
~consenting and recommendation of treatments such as PGS has been inconsistent

-conversations regarding ASRM guidelines during team meetings can be difficult do not reflect
current standards :

Leadership:

-This is the most difficult area to describe but is perhaps the most critical for the well being of
both the division and the department

-Upon arrival Dr, Seifer has focused on the IVE program, collecting and looking at data, frequently
to the distraction of the lab and nurses. Often using small amounts of data that are in fact inaccurate.

~I have not had the impression that he js assessing all aspects of the division: looking at all of
the services offered, referral base, locations. This will be critical for continued success of the
division

-Dr. Seifer has not been effective in working with Dr. Porter and has frequently avoided seeking her
out for institutional information that would be helpful in problem solving Cie anesthesia and staffing
for retrievals)

-Dr. Seifer was disrespectful to Sharon as she prepared for retirement. After Casey was unexpected
let go we were critically short handed, Sharon has both the depth of knowledge and long term clinical
experience necessary to help solve this problem and train our newest nurse. She was willing to stay and
help in a more limited basis, but was marginalized and not encouraged to continue working, We are now in
a crisis situation and not providing good care, : .

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-One of the biggest concerns that I have is with regard to his management of Albert Hsu. Albert does
not have an adequate skill set with regard to surgery and patient care. He regularly practices outside
of ASRM standards with regard to IVF which is both ineffective and costly to patients. His surgical
skills endanger patients, Dr, Seifer has not addressed this issue and there has been no improvement in
his practice,

I would be happy to speak with you in person if you would like any further clarification.

Respectfully submitted,

Judith McBean, MD

From: Leslie R. DeMars [Leslie.R.DeMars@hitchcock.org]

Sent: Thursday, February 16, 2017 3:13 PM

To: Heather L. Gunnell; Albert L. Hsu; Dennis B, Dela Cruz; Donna Bedard; Elizabeth C. Todd; Jennifer A.
Blaiklock; Judith H. McBean; Judith McBean; Kathleen J. Mansfield; Kelly L. Mousley; Marlene L. Grossman;
Marticiesol P, Lewis; Misty M. Blanchette Porter; Navid Esfandiari; Pavel Zagadailov; Sarah H. Gibson;
Elizabeth Y. Gosselin

Subject: confidential review

To all, :
Thank you all for your hard work with the retreats that we have had with the Value Institute. TI am
looking forward to the report out, and the plans for the next few weeks/months.

I asked you all for comments at the end of Dr. Seifer’ s initial evaluation period in the fall. It is
time for another assessment. Please send me comments that you have regarding his performance thus far as
division chief. specifically, I am interested in your perspective of his clinical work, his leadership
to date, and the potential for REI to work as a connected team in the future. 1 would like to hear your
comments, whether good or bad, in writing or in person. They are confidential and protected under the
credentialing and privileging process. I would appreciate it if I could hear back over the next week.

Leslie R. DeMars, MD

Chair, Dept. of Obstetrics and Gynecology

VP Women’ s Health Service Line

Associate Professor, Geisel School of Medicine at Dartmouth

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